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 1                                 UNITED STATES DISTRICT COURT

 2                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 3    _____________________________________________________________

 4                                    )
       UNITED STATES OF AMERICA,      ) CR17-135-TSZ
 5                                    )
                       Plaintiff,     ) SEATTLE, WASHINGTON
 6                                    )
       v.                             ) January 25, 2018
 7     YAOAN HE,                      )
                                      ) SENTENCING HEARING
 8                     Defendant.     )
                                      )
 9    _____________________________________________________________

10                    VERBATIM REPORT OF PROCEEDINGS
                   BEFORE THE HONORABLE THOMAS S. ZILLY
11                     UNITED STATES DISTRICT JUDGE
      _____________________________________________________________
12

13
      APPEARANCES:
14

15

16     For the Plaintiff:                        Catherine Crisham
                                                 Assistant United States Attorney
17                                               700 Stewart Street
                                                 Suite 5220
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19
       For the Defendant:                        Gregory Murphy
20                                               Federal Public Defender's Office
                                                 1601 5th Avenue
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22                                               Seattle, WA 98101

23     Interpreter for                           Ben Tseng
       Defendant:
24

25



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 1                 THE CLERK:             Will counsel please come forward in the

 2    He matter?

 3         The court calls to order cause number 17-135Z United

 4    States v. He.

 5                 MS. CRISHAM:               Kate Crisham for the United States.

 6                 MR. MURPHY:              Greg Murphy for the Federal Defender's

 7    Office for Yaoan He.

 8                 THE COURT:             Good afternoon.                 Did the defendant

 9    receive a copy, and have read to him in his native language,

10    the presentence investigation report and the sentencing

11    recommendations of probation?

12                 MR. MURPHY:              Yes, Your Honor.

13                 THE COURT:             In addition, I reviewed the plea

14    agreement, the proposed judgment, the government's sentencing

15    memo, and the defendant's sentencing memo.                                      Is there anything

16    else I should have received and reviewed?

17                 MS. CRISHAM:               No, Your Honor.

18                 MR. MURPHY:              No, Your Honor.

19                 THE COURT:             All right.             Are there any factual

20    disputes to the facts in the presentence report, for purposes

21    of determining guideline calculations?

22                 MS. CRISHAM:               Not from the government, Your Honor.

23                 MR. MURPHY:              I don't believe so.

24                 THE COURT:             You have to speak up, counsel.

25                 MR. MURPHY:              Excuse me.             I think I'm not close enough



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 1    to the microphone.                 I don't think there are any guideline

 2    disputes.

 3                 THE COURT:             The court adopts as facts all the facts

 4    in the presentence report.                        And based on those facts, I'll

 5    adopt the guideline calculations.                              Probation calculated that

 6    would result in a guideline range of 12 to 18 months,

 7    criminal history category 13, total offense level 13,

 8    criminal history category 1, 12 to 18 months.                                         Any objection

 9    to that calculation?

10                 MR. MURPHY:              No, Your Honor.

11                 MS. CRISHAM:               No, Your Honor.

12                 THE COURT:             I'll hear from the government what the

13    appropriate sentence is.

14                 MS. CRISHAM:               Thank you, Your Honor.                       Along with the

15    defense, we are asking the court to sentence Mr. He to a

16    sentence of 364 days.                    Mr. He was a low-level but very

17    involved member of this interstate prostitution ring.                                                Within

18    the last year, before the organization was dismantled, Mr. He

19    was seen by, or observed by law enforcement involved in some

20    aspect of the organization's business nearly every single

21    day.

22         Toll records and car-tracker data show him visiting a

23    number of different brothel locations nearly every night.                                                   We

24    know from speaking with the women in these brothels that it

25    was Mr. He's job to come collect the prostitution earnings,



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 1    drop off supplies, and food and water for them.

 2         Mr. He also assisted in posting some prostitution

 3    advertisements on Backpage.com, and he also leased several

 4    apartments in his name that were used as brothels.                                              Although

 5    Mr. He played an important role in the conspiracy, it also

 6    became clear during the course of the investigation that he

 7    was a lower-level member of the conspiracy than the other

 8    defendants who have been before the court.

 9         Unlike Mr. Wu, Mr. Zhang or Mr. Thompson, Ms. Wang did not

10    consult with Mr. He about various business decisions, or how

11    best to run the organization.                           And unlike Ms. Wang or

12    Mr. Thompson, Mr. He did not appear to receive much in the

13    way of financial benefits.

14                 THE COURT:

15

16        ?

17                 MS. CRISHAM:               I mentioned Ms. Wang, Your Honor,

18    because we don't have much information about Mr. Wu's

19    financial benefits.                  And it's really just Mr. Thompson and

20    Ms. Wang that we have the most information about.

21                 THE COURT:             What do you know about this defendant?

22    He's here for sentencing.

23                 MS. CRISHAM:               I was trying to differentiate why he

24    had a minor role compared to the other defendants, Your

25    Honor.



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 1                 THE COURT:

 2                ?

 3                 MS. CRISHAM:               They did, Your Honor.

 4                 THE COURT:

 5

 6

 7                 MS. CRISHAM:               I think, Your Honor, this is a sentence

 8    just below Mr. He's guideline range.                                 It took into account

 9    his minor role, which the other defendants did not receive.

10    And so for that reason I think that he would be a entitled to

11    a lower guideline range than those defendants.

12                                                                                   There really does

13    not seem to be anything that really seems to move Mr. He one

14    way or the other from that guideline range.                                       And we think a

15    low-end sentence is appropriate of 364 days.

16         We do think that a custodial sentence is necessary.

17                 THE COURT:             This conspiracy went on for almost four

18    years.

19                 MS. CRISHAM:               It did, Your Honor, yes.

20                 THE COURT:             How long was this defendant involved in

21    the activities of the conspiracy?

22                 MS. CRISHAM:               He was involved for some time.                              I

23    believe that he came in later in the conspiracy.

24                 THE COURT:             That's not helpful.

25                 MS. CRISHAM:               Your Honor, we don't know the exact



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 1    date he became involved.                      He never gave a proffer.

 2                 THE COURT:             So you really don't know.

 3                 MS. CRISHAM:               We know someone, for example Mr. Chen,

 4    we know was involved in this business since at least 2014.

 5    We know Mr. Wu, due to his proffer, he told us he became

 6    involved in 2015, as well as Mr. Zhang.                                    But we don't know

 7    the start date of Mr. He.

 8                 THE COURT:             We know that apparently in October of

 9    2015 he was arrested in Pierce County, charged with promoting

10    prostitution.             Apparently those charges were dropped.                                     Is

11    that in any way related to the conspiracy we have here?

12                 MS. CRISHAM:               We don't know that, Your Honor.                               We

13    know that there were out-call dates that were organized by

14    this conspiracy.               It's our inference -- we were not involved

15    -- we were not aware of Mr. He being involved on his own.                                                   So

16    it does seem to be something connected to this conspiracy.

17    We know he was involved in the conspiracy probably since late

18    2015, certainly throughout 2016, before he was arrested in

19    2017.

20                 THE COURT:             So your recommendation is?

21                 MS. CRISHAM:               A sentence of 364 days, Your Honor.

22                 THE COURT:             All right.             I understand your position.

23    I'll hear from the defendant.                           Counsel.

24                 MR. MURPHY:              Thank you, Your Honor.                       Your Honor, the

25    government noted this is a joint recommendation, and in that



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 1    spirit I had thought to keep my comments in mitigation brief.

 2    But the court has some specific concerns, I can see, and I'll

 3    try to address those.                    Certainly if there are areas the court

 4    wants me to address, I'd be grateful for that direction.

 5         What I would say about Mr. He, and I'm aware that I'm

 6    mispronouncing his name, is that Mr. He is differently

 7    situated than many of the people in this case, and certainly

 8    many of the people I've ever had the occasion to represent.

 9    The court knows that he arrived in this country with his

10    spouse, who is present in court, with other family members to

11    support him.

12         At the time they had a young child, and a second child,

13    and she was pregnant with a second child, and they made the

14    decision to stay in the United States so they wouldn't be

15    obliged to either pay a penalty or abort the second child.

16    They now have three children.                           And Mr. He has been the

17    primary provider for his small family.

18                 THE COURT:             Well, he has been providing by working in

19    this prostitution conspiracy.                           What else has he been doing?

20                 MR. MURPHY:              Well, as the court knows -- so, he

21    didn't get off the plane and get involved in this conspiracy.

22    What happened was when he arrived in Seattle he knew a single

23    person in the United States, it was a middle school classmate

24    who was married to someone who ended up being a part of this

25    conspiracy.



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 1         What Mr. He did was sort of began doing almost anything he

 2    could with the limited resources he had.                                     So Mr. He was a

 3    hard worker, but didn't speak any English.                                      He doesn't have

 4    an advanced degree.                  He was allowed to remain in the United

 5    States, because he had a pending asylum case.                                         But most of

 6    the time here he didn't have a work permit.

 7         So what Mr. He did is he found work kind of in the service

 8    and cash economy.                So he would place ads offering to move

 9    furniture.          He would respond to ads asking for help.                                       He

10    worked for a time at a Chinese restaurant delivering food.

11    He picked up Chinese nationals from the airport, because he

12    would advertise in Chinese media.                              He would -- when they were

13    eventually able to rent a place, he rented out rooms in his

14    place to other Chinese nationals who were coming to the

15    university, and so forth.                       He offered tours of Seattle to

16    people who would do it.

17         And that work, basically his delivery work, is how he got

18    introduced to this conspiracy, and ultimately migrated into

19    what he ended up doing for this conspiracy.                                       And a lot of

20    what the prosecutor has described, which I think is

21    essentially accurate, is sort of was an outgrowth of work he

22    was doing, kind of in a lot of different contexts, that

23    ultimately he became -- ended up working primarily for his

24    co-conspirator here, Ms. Fang Wang, who the court has already

25    seen.



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 1         There are some ways in which -- I appreciate the

 2    government's emphasis on Mr. He's minor role, because there

 3    are a number of ways in which he is, to our mind, differently

 4    situated.         So unlike some of the -- as the government pointed

 5    out, he was not a confidant of the higher members of this

 6    conspiracy.           They didn't consult with him.                             She didn't

 7    consult with him.                He was essentially grunt work.                               He picked

 8    up stuff and delivered stuff when instructed to.

 9                 THE COURT:             Well, the stuff was all related to the

10    conspiracy that was going on.                           Delivering supplies.                     It was

11    moving the women around.

12                 MR. MURPHY:              That's right.

13                 THE COURT:             Did he rent apartments as well?

14                 MR. MURPHY:              Well, he did.               Once he got --

15                 THE COURT:             When he was renting the apartments, he

16    knew they were going to be used for prostitution purposes; is

17    that right?

18                 MR. MURPHY:              I think so, yes, Your Honor.

19                 THE COURT:             There's no doubt.

20                 MR. MURPHY:              I think what happened was he ended up

21    being -- he ended up getting a work permit.                                       Then because he

22    had documents that allowed him to rent apartments -- you

23    know, he didn't pay for the apartments, he didn't select the

24    apartments, he didn't -- but he was -- but Fang Wang would

25    give him directions.                   Then he would follow those.



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 1                  THE COURT:             So help me understand his role in the

 2    apartments.            He didn't select them.                       Did he go rent them?

 3                  MR. MURPHY:              The discovery -- at least some of the

 4    times it appears that he did.                            The discovery -- a lot of

 5    these things are E-signed.                         So what he was able to provide

 6    that was valuable was a valid -- was a credit rating and a

 7    valid identification.                     But once the apartments were rented,

 8    his participation in some cases was essentially over.                                                 Mr. He

 9    -- and I didn't mean to cut the court off.

10                  THE COURT:             No.

11                  MR. MURPHY:              I'm sorry.             Mr. He -- virtually the

12    entire time that he was working, he was involved in this

13    conspiracy, he also had other work.                                 He was working --

14                  THE COURT:             So you refer to the entire time.                                What

15    was that entire time?                     The government doesn't seem to know.

16    Can you represent to me what period of time he was involved?

17                  MR. MURPHY:              I don't know for 100 percent sure.                                    What

18    I can tell you is --

19                  THE COURT:             Well, give me the 90 percent sure.

20                  MR. MURPHY:              I know he was --

21                  THE COURT:             Well, you can't argue that for the entire

22    time he did this, or he didn't do that, if you can't tell me

23    what that time was.

24                  MR. MURPHY:              I'm sorry, Your Honor, I'm not trying to

25    offend the court.                 And I don't have the court's answer.                                       I'm



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 1    also not trying to be evasive.                             What I can tell you is that

 2    for a period of time towards the end of the conspiracy he

 3    seemed to be involved virtually every day.                                       For long periods

 4    of time before that, he was working as an Uber driver.                                                  And

 5    the discovery that we read from other people were people

 6    saying, well, she has other drivers, he's on the way out, he

 7    seems to be doing something else.                               It doesn't appear to have

 8    been -- the discovery, at least, doesn't suggest he was

 9    consistently involved in exactly the same way all the way

10    through.         And I know the court wants a start date, and I just

11    don't have it for Your Honor.

12         I do want to say that --

13                  THE COURT:             Well, it appears at least by 2015 he was

14    involved in similar activities, with or without this

15    conspiracy, down in Pierce County; isn't that right?

16                  MR. MURPHY:              When he arrived in the United States he

17    began living with his co-conspirator, yes, Your Honor.                                                  And

18    it does appear that he was arrested in 2015.                                         And charges

19    were not brought on that case.                             So that is fair.

20                  THE COURT:             During the search of his person, they

21    located $3,500 in cash.                      And he was arrested in connection

22    with a Backpage advertisement for a 19-year-old female who

23    was present with him when he was arrested.

24                  MR. MURPHY:              Yes, Your Honor, it absolutely does

25    appear --



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 1                  THE COURT:             Sounds like, at least from 2015, he was

 2    involved in this type of activity.

 3                  MR. MURPHY:              Yes.       That, of course, does not

 4    distinguish him from the other defendants that the court has

 5    sentenced.           But it's -- it is what it is.

 6         What I would say to the court is during this whole time,

 7    as I was saying, he had other jobs.                                 He was working as an

 8    Uber driver.             He was working for a restaurant.                                He had gotten

 9    involved in Airbnb and trying to rent out a room to other

10    people.        This is not -- like his involvement in the

11    conspiracy, even at his most involved, was not like an

12    aspiration for him.                   It was a way for -- it was a crime.

13    He's accepted responsibility for it.                                  I don't mean to

14    diminish it.

15         But I do want to make the court understand that unlike

16    some of the other defendants here, this is a gentleman who

17    was differently situated, vis-a-vis his options.                                             He didn't

18    have a job at Microsoft.                       He wasn't consulting -- unlike

19    other defendants, he wasn't having sex with the prostitutes.

20    He didn't deliver condoms.                         He picked up food -- or delivered

21    food and picked up cash.                       Those are the supplies, as I

22    understand it.

23                  THE COURT:             Well, just a moment.                      Paragraph 15 of the

24    presentence report specifically says he rented apartments in

25    his name for use.                 Additionally, he supplied -- delivered



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 1    supplies, including food, condoms, baby wipes, to the female

 2    prostitutes working at the brothels.                                  Are you suggesting that

 3    didn't happen?

 4                  MR. MURPHY:              I missed it.              I looked at this case

 5    carefully.           I remember him delivering lots of supplies.                                             I

 6    didn't remember seeing condoms.                              But if it's in the

 7    presentence report, and we haven't objected to it --

 8                  THE COURT:             All right.             What's your recommendation?

 9                  MR. MURPHY:              Your Honor, let me briefly make two more

10    points.        I'm sorry, I can tell I'm trying the court's

11    patience.          Two points.              First, it's true that he didn't

12    cooperate like some of the other offenders.                                        But there were

13    conversations along those lines.                              And his immigration status

14    made it very difficult for him to resolve the case in a way

15    that wasn't true for the United States citizen defendants in

16    this case.

17         And the reason that we have recommended a sentence of

18    364 days as opposed to a recommendation 365 days, or

19    12 months, is that a sentence at 364 days, which actually

20    results in more time than the year-and-a-day recommendation

21    the probation officer has proposed, gives Mr. He some

22    possibility of being released on bond if he's ever placed

23    into immigration proceedings, which I think is expected.

24         Mr. Cantor learned today that the immigration proceedings

25    will be adding an allegation of removability, based on this



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 1    conviction.            Proceedings can last for years, as the court

 2    knows.       And even if he's deported, China can be recalcitrant

 3    in providing travel documents.                             If he gets a sentence of

 4    364 days or less, he would be in a position to be eligible

 5    for some sort of bond.                      Otherwise he would be required to

 6    serve the years into the future, subject to mandatory

 7    detention.

 8         This was a circumstance that, again, made him different,

 9    his minor role, his different personal circumstances.                                                 It's

10    not that he was unwilling to cooperate, it was just that we

11    had a difficult time resolving the case.                                      We worked hard to

12    do that with the government.                           I've tried to honor that

13    agreement with the government, today, with our

14    recommendation.               And I would urge the court to impose the

15    joint recommendation of the parties.

16                  THE COURT:             Thank you.             Does your client wish to be

17    heard?

18                  MR. MURPHY:              He does, Your Honor.                      Thank you.

19                  THE COURT:             Good afternoon, sir.

20                  THE DEFENDANT:                 Good afternoon, Your Honor.                            I'm so

21    sorry to everyone, and my father, mother.                                       But the special

22    one is my wife and my three kids.

23         I'm finished.

24                  THE COURT:             Well, first, I note that the defendant

25    has pled guilty to use of a communication facility to promote



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 1    prostitution.              That was a downward charge.                           He originally was

 2    charged with conspiracy in connection with a

 3    three-or-four-year prostitution ring that operated in this

 4    community.           The government has already given this defendant a

 5    huge break by letting him plead to essentially a lesser

 6    crime, that is using a telephone, which has a maximum of, I

 7    think, five years, rather than a conspiracy that would be

 8    much greater.              This defendant was involved in the

 9    prostitution ring.

10                  MR. MURPHY:              I'm sorry to interrupt the court, but --

11                  MS. CRISHAM:               This was the charge that the

12    defendant --

13                  THE COURT:             This was the original charge?

14                  MS. CRISHAM:               Yes, it was.

15                  THE COURT:             Okay.        Pardon me.

16         It's still troubling, because the defendant, the best I

17    can tell, was doing essentially what others were doing, that

18    I've already sentenced, who pled guilty to conspiracy, the

19    overall conspiracy.                   This defendant assisted that conspiracy

20    by renting apartments, by delivering supplies, including

21    condoms and other supplies to the female prostitutes.

22         It's troubling to the court that this defendant in 2015,

23    was arrested on October 6th of 2015 in Pierce County.                                                 Now, I

24    don't know whether that was involved in this -- this ring

25    that we're dealing with in this case or something else.                                                      But



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 1    it is undisputed that he had put up an advertisement on

 2    Backpage.com, that he showed up at that location on that date

 3    for a $300 date that the woman was going to have with the

 4    man.

 5         The man turned out to be an undercover detective.                                                And

 6    during the search, when he is arrested, he's got $3,500 in

 7    cash.      The court can only assume that, from at least 2015

 8    until the time he was arrested in this case, that he was

 9    involved in this type of activity.

10         Now, the defendant in this case did not cooperate.                                                 He has

11    been given a minor role.                       And when we get the guidelines,

12    which of course are not binding upon me, it's 12 to

13    18 months.           And, frankly, I see no reason not to impose the

14    bottom of the guideline range, which is 12 months.                                               The

15    defendant is here in this country on the status he's in.                                                     And

16    he's going to have to take the consequences of violating our

17    laws.

18         So I'm not inclined to give him 12 months and a day.                                                    I'm

19    inclined and will give him 12 months, bottom of the guideline

20    range, followed by supervised release of one year subject to

21    each of the standard conditions and each of the special

22    conditions that are set forth in the sentencing

23    recommendations.

24         I find the defendant does not have the ability to pay a

25    fine.      I'll waive the fine, assess the $100, and advise the



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 1    defendant that to the extent he has not waived his right to

 2    appeal in the plea agreement, any appeal must be filed within

 3    14 days of the time I sign the judgment.

 4                  MR. MURPHY:              Your Honor, forgive me, but would the

 5    court consider reducing his sentence by one day?                                             He would

 6    not get good time.                  He would not get the benefits of a year

 7    and a day.

 8                  THE COURT:             Counsel, you've made your arguments.

 9    I've understood them.

10                  MR. MURPHY:              It would help Mr. He potentially going

11    forward.

12                  THE COURT:             He should have thought of that when he

13    got into this and stayed in this activity as long as he did.

14    And he should have had a wake-up call back in 2015.                                               I would

15    have thought that when he was arrested he would have been a

16    little smarter about how he proceeded.                                    I'm not going to give

17    him a year and a day so he can be on bond, or other -- have

18    some special circumstance.

19                  MR. MURPHY:              I'm not asking for a year and a day, I'm

20    asking the court for 364 days, which is one day less than a

21    year.

22                  THE COURT:             I'm not going to do that either.                                One

23    year.      Twelve months.                 Any objection to the form of the

24    judgment?

25                  MR. MURPHY:              No, Your Honor.



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 1                  THE COURT:             All right.             Do you want bring it up,

 2    please?

 3                  MR. MURPHY:              Yes.

 4                  THE COURT:             The government is having a lot of trouble

 5    with these judgments.                     I know we have to fix Mr. Thompson's

 6    at some point.              But this one says, on the face, that he

 7    pleaded guilty to Count 1 of the superseding information.

 8    Was there a superseding information?

 9                  MS. CRISHAM:               Yes, Your Honor, there was a

10    superseding information that we have, that we are dismissing

11    Counts 1 through 9 of the superseding indictment.

12                  THE COURT:             So he was charged with conspiracy.

13                  MS. CRISHAM:               He was originally charged in the

14    complaint, which was the original charging document.

15                  THE COURT:             I thought you said earlier that he had --

16    the only thing he had been charged with was this telephone

17    count.

18                  MS. CRISHAM:               No, Your Honor, he was originally

19    charged with the telephone count.                               At the day of takedown,

20    that's what the complaint charged him with.

21                  THE COURT:             Then he was charged with the conspiracy

22    in its entirety, right?

23                  MS. CRISHAM:               It was a Conspiracy Travel Act count,

24    what he was charged with in the complaint.                                       We then charged

25    additional conspiracy and additional charges.



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 1                  THE COURT:             So the superseding indictment, why do we

 2    need -- it says Counts 1 through 9 are dismissed.                                              Doesn't

 3    the superseding information do away with all of this previous

 4    indictment or superseding indictment?

 5                  MS. CRISHAM:               I don't believe so, that's why we had

 6    to redo Mr. Thompson's, because it was missing that.

 7                  THE COURT:             Well, that's not the only reason.

 8                  MR. MURPHY:              To be clear, for the record, there was

 9    never an information.                     I believe he just pled to Count 1 of

10    the indictment.

11                  THE COURT:             So you don't really know what he pled

12    guilty to?           Where is the docket sheet?

13                  MR. MURPHY:              Excuse me, Your Honor, you're right.

14                  THE COURT:             You had an indictment.                        We had a

15    superseding indictment.                      And then we had a superseding

16    information; is that right?

17                  MR. MURPHY:              Yes, Your Honor.

18                  THE COURT:             It's the superseding information that he

19    pled to.

20                  MS. CRISHAM:               That's correct, Your Honor.

21                  MR. MURPHY:              Yes.

22                  THE COURT:             And it's only one count?

23                  MS. CRISHAM:               That's correct.

24                  MR. MURPHY:              Right.

25                  THE COURT:             I've signed the judgment.                          It will be



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 1    filed.       Anything further to come before the court?

 2                  MS. CRISHAM:               No.      Thank you, Your Honor.

 3                  MR. MURPHY:              No.      Thank you.

 4                                                 (Adjourned.)

 5

 6                                         C E R T I F I C A T E

 7

 8

 9         I certify that the foregoing is a correct transcript from

10    the record of proceedings in the above-entitled matter.

11

12

13

14    /s/ Debbie Zurn

15    DEBBIE ZURN
      COURT REPORTER
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